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                                                                                                   10/16/20



                                              THE CITY OF NEW YORK
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                                                                                                       pbrocker@law.nyc.gov
                                                                             October 16, 2020
        VIA ECF
        Barbara C. Moses, U.S.M.J.
        United States District Court
        Southern District of New York
        500 Pearl Street,
        New York, NY 10007


                          Re:   Anika Edrei, et al. v. City of New York, et al.,
                                16 Civ. 1652 (JMF) (BCM)
        Your Honor:

                I am one of the attorneys assigned to the defense of the above-referenced matter. I write
        on behalf of all parties in the above-referenced matter in order to request that the Court adjourn
        the settlement conference presently scheduled for Tuesday October 20, 2020 at 2:00 p.m. for 75
        days, to a date convenient to the Court after January 3, 2021.

                This request, if granted, will enable the parties additional time to reduce the parties’
        agreements in principle as to equitable relief to writing and attempt to resolve the sole remaining
        issue in the potential settlement of this litigation: settlement of plaintiffs’ attorneys’ fees, costs,
        and expenses. As the Court may recall, in the last settlement conference on August 18, 2020, the
        parties agreed on an award for plaintiffs’ damages, contingent on the parties’ successfully
        negotiating terms regarding equitable relief and plaintiffs’ attorneys’ fees, costs, and expenses.
        Additionally, as the parties noted in their confidential ex parte status report to the Court
        submitted on October 13, 2020, they have recently resolved the issue of equitable relief in this
        matter verbally, and are in the process of reducing their agreements to a written stipulation. The
        parties plan to use this time to draft that stipulation and attempt to resolve this final issue of
        attorneys’ fees without unnecessarily burdening the Court’s calendar. The requested 2.5 month
        adjournment is necessary because, once plaintiffs’ counsel disclose their invoices for their
        attorneys’ fees, costs, and expenses through the present by next week, defendants will need time
        to analyze them and then seek appropriate authority, and the parties will then need additional
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       time to make their best efforts to come to an agreement, if possible, on their own. The parties are
       optimistic, however, that this can all be accomplished in the next 2.5 months. 1

               Thank you for your consideration and assistance throughout this settlement process.

                                                                           Respectfully Submitted,

                                                                           Peter W. Brocker /s//
                                                                           Peter W. Brocker, Esq.
                                                                           Assistant Corporation Counsel
       cc:     All Counsel of Record (via ECF)



Application GRANTED. The settlement conference currently scheduled for October 20, 2020, at 2:00 p.m. is hereby
ADJOURNED to January 11, 2021 at 2:00 p.m. The parties shall submit their joint confidential settlement letter, as
directed in the Court's August 19 Order Continuing Settlement Conference (Dkt. No. 123) no later than January 4,
2021. SO ORDERED.



___________________________
Barbara Moses, U.S.M.J.
October 16, 2020




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        Due to the scheduling impact of Thanksgiving, religious holidays, and the New Year, the parties anticipate some
       delay and as a result requested that any conference be set for a date in the new year.




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